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 6

 7                                 UNITED STATES BANKRUPTCY COURT

 8                                  CENTRAL DISTRICT OF CALIFORNIA

 9                                        RIVERSIDE DIVISION

10

11    In re                                      Case No. 6:17-bk-20091-MW

12    NANETTE DENISE MARCHAND,                   Adv. 6:18-ap-01059-MW

13            Debtor                             Before the Honorable Mark S Wallace
      _________________________________
14                                               Chapter 7
      ROBERT BANHART,
15                                               MOTION TO DISMISS FIRST AMENDED
                       Plaintiff                 ADVERSARY COMPLAINT FOR DENIAL OF
16                                               DISCHARGE PURSUANT TO: 1) 11 U.S.C. §
      vs.                                        727(A)(2); 2) 11 U.S.C. § 727(A)(3); 3) 11 U.S.C.
17                                               § 727(A)(4)
      NANETTE DENISE MARCHAND
18                                               [F.R.C.P. §§9(b), 12(b)(6); F.R.B.P. §§7009, 7012]
                      Defendant
19                                               Date: 12-13-2018
                                                 Time: 9:00am
20                                               Courtroom 225
                                                 3420 Twelfth Street, Riverside, CA 92501
21
               TO PLAINTIFF ROBERT BANHART AND HIS ATTORNEY OF RECORD:
22
               PLEASE TAKE NOTICE that on 12-13-2018, at 9:00AM in the Courtroom of the
23
     Honorable Mark S Wallace, United States Bankruptcy Judge, Courtroom 6C located at the United
24
     States Bankruptcy Court Central District of California Ronald Reagan Federal Building and
25
     Courthouse 411 West Fourth Street, Suite 6135 / Courtroom 6C Santa Ana, CA 92701-4593, Debtor
26
     and Defendant NANETTE DENISE MARCHAND (“Defendant”) moves for an order dismissing the
27
     First Amended Adversary Complaint for Denial of Discharge Pursuant to: 1) 11 U.S.C. § 727(A)(2);
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 1   2) 11 U.S.C. § 727(A)(3); 3) 11 U.S.C. § 727(A)(4) (“Complaint”) filed herein by Plaintiff ROBERT

 2   BANHART (“Plaintiff”).

 3             The Motion to Dismiss will be based on this Notice, on the attached Memorandum of Points

 4   and Authorities, on all the papers and records on file in this action, and on such oral and documentary

 5   evidence as may be presented at the hearing of the Motion.

 6             Defendant brings this Motion to Dismiss pursuant to F.R.C.P. §§ 9(b), 12(b)(6), and F.R.B.P.

 7   §§ 7009, 7012, on the grounds that Plaintiff has still failed to state a claim upon which relief may be

 8   granted. Plaintiff’s Complaint fails to meet even the minimal elements of 11 U.S.C. § 727(A)(2); 11

 9   U.S.C. § 727(A)(3); & 11 U.S.C. § 727(A)(4). Plaintiff attempts to allege causes of action by

10   providing an excessive listing of vague, redundant, and ultimately confusing assertions of fact (many

11   of which only marginally qualify as facts), then, failing to apply those assertions to the elements of

12   any given cause of action, makes only sweeping conclusory declarations of Defendant’s liability. As

13   a result, the pleading defies a basis for drawing any reasonable inference that Defendant is responsible

14   for the misconduct alleged, let alone any of the injuries or damages which Plaintiff claims to have

15   suffered. It is not the responsibility of Defendant, and certainly not the responsibility of the Court, to

16   decipher the relevant facts from the referenced narrative in order to construct Plaintiff’s claims for

17   relief.

18             Pursuant to Local Bankruptcy Rule 9013-1, any objection or response to this Motion must be

19   stated in writing, filed with the Clerk of the Court and served on Defendant and his counsel no later

20   than fourteen days prior to the hearing. Failure to so state, file and serve any opposition may result in

21   the Court failing to consider the same.

22

23   DATED:           August 14, 2018                LAW OFFICE OF BARUCH C. COHEN
                                                     A Professional Law Corporation
24

25                                                   By     /S/ Baruch C. Cohen
                                                     Baruch C. Cohen, Esq.
26                                                   Attorney For Defendant Nanette Denise Marchand

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 5             ARGUMENT . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . -4-

 6                       PLAINTIFF’S COMPLAINT IS PROPERLY DISMISSED PURSUANT TO F.R.C.P.

 7                                  §§ 9(B), 12(B)(6) AND F.R.B.P. §§7009, 7012 . . . . . . . . . . . . . . . . . . . -7-

 8                                  PLAINTIFF’S 1st CAUSE OF ACTION UNDER 11 U.S.C. § 727(a)(2) IS

 9                                            PROPERLY DISMISSED . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . -7-

10                                  PLAINTIFF’S 2nd CAUSE OF ACTION UNDER 11 U.S.C. § 727(a)(3) IS

11                                            PROPERLY DISMISSED . . . . . . . . . . . . . . . . . . . . . . . . . . . . . -13-

12                                  PLAINTIFF’S 3rd CAUSE OF ACTION UNDER 11 U.S.C. § 727(a)(4) IS

13                                            PROPERLY DISMISSED . . . . . . . . . . . . . . . . . . . . . . . . . . . . . -14-

14             CONCLUSION . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . -22-

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 1                                                      TABLE OF AUTHORITIES

 2   CASES

 3   Accord Keeney v. Smith (In re Keeney), 227 F.3d 679, 685 (6th Cir. 2000) . . . . . . . . . . . . . . . -15-

 4   Anderson v. Wiess (In re Wiess), 132 B.R. 588, 592 (Bankr. E.D. Ark. 1991) (citing Fed. R. Bankr.
     Proc. 4005) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . -13-
 5
     Ashcroft v. Iqbal, 129 S. Ct. at 1950 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . -4-
 6
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 7
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 8   Twombly, 550 U.S. 544, 570 (2007) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . -4-, -5-

 9   Associated Gen. Contractors of Calif. v. California State Council of Carpenters 459 U.S. 519, 526
     (1983) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . -5-
10
     Aulson v. Blanchard 83 F.3d 1, 3 (1st Cir. 1996) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . -5-
11
     Balistreri v. Pacifica Police Dept, 901 F.2d 696, 699 (9th Cir. 1990) . . . . . . . . . . . . . . . . . . . . -5-
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     Bauman v. Post (In re Post), 347 B.R. 104, 112 (Bankr. M.D. Fla. 2006) . . . . . . . . . . . . . . . . -15-
13
     Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . -4-
14
     Blacksmith Inv., LLC v. Cives Steel Co., Inc., 228 F.R.D. 66, 73 (D. Mass. 2005) (citing
15   Powers v. Boston Cooper Corp., 926 F.2d 109, 111 (1st Cir. 1991) . . . . . . . . . . . . . . . . . . . . . . -6-

16   Conley v Gibson, 355 U.S. 41, 45-46, 78 S.Ct. 99, 102 (1957) . . . . . . . . . . . . . . . . . . . . . . . . . . -5-

17   De La Cruz v Tormey 582 F.2d 45, 48 (9th Cir. 1978) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . -5-

18   Estate of Harris v. Dawley (In re Dawley), 312 B.R. 765, 785 (Bankr. E.D. Pa. 2004) . . . . . . -15-

19   Graehling v. Village of Lombard, III, 58 F.3d 295, 297 (7th Cir. 1995) . . . . . . . . . . . . . . . . . . . -5-

20   Gullickson v. Brown (In re Brown), 108 F.3d 1290, 1294-95 (10th Cir. 1997) . . . . . . . . -12-, -20-

21   In re Beaubouef, 966 F.2d 174, 178 (5th Cir. 1992) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . -12-, -20-

22   In re Chalik, 748 F.2d 616, 617 (11th Cir.1984) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . -10-, -19-

23   In re Dawley, 312 B.R. at 787 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . -15-

24   In re Garcia, 168 B.R. 403 (D. Ariz. 1994) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . -7-

25   In re Lawson, 122 F3d 1237 (CA9 1997) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . -7-

26   In re Topper, 229 F.2d 691, 693 (3d Cir. 1956) cited in In re Georges, 138 Fed. Appx. 471, 472 (3d
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     In re Zimmerman, 320 B.R. at 806 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . -15-
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 1   Lansdowne v. Cox (In re Cox), 41 F.3d 1294, 1296 (9 Cir. 1994) . . . . . . . . . . . . . . . . . . . . . . -14-

 2   Matter of Beaubouef, 966 F.2d 174, 178 (5th Cir 1992), cited in In re Spitko, 357 B.R. at 312
     . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . -15-
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     Milkie v. Extreme Networks, Inc., 2004 WL 690844, slip op. at *7 (N.D. Tex. Mar. 30, 2004) . -6-
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     Moore v. Strickland (In re Strickland), 350 B.R. 158, 163 (Bankr. D. Del. 2006) . . . . . . . . . . -15-
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     N.L. Industries, Inc. v. Kaplan, 792 F.2d 896, 898 (9th Cir. 1986) . . . . . . . . . . . . . . . . . . . . . . . -4-
 6
     Official Comm. of Unsecured Creditors of VarTec Telecom, Inc. v. Rural Tel. Fin. Coop. (In re
 7   VarTec Telecom, Inc., 335 B.R. 631 (Bankr. N.D. Tex. 2005) . . . . . . . . . . . . . . . . . . . . . . . . . . -6-

 8   Palm Valley Homeowners v. Design MTC, 85 Cal. App. 4th 553, 559 (2000) . . . . . . . . -11-, -20-

 9   Polich v. Burlington Northern, Inc., 942 F.2d 1467, 1472 (9th Cir. 1991) . . . . . . . . . . . . . . . . . -4-

10   Sullivan v. Leor Energy, LLC, 600 F.3d 542, 550 (5th Cir. 2010)
     (citing ABC Arbitrage v. Tchuruk, 291 F.3d 336, 350 (5th Cir. 2002)) . . . . . . . . . . . . . . . . . . . . -6-
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     Swicegood, 924 F.2d at 232 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . -15-
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     Tuchman v. DSC Communications Corp., 14 F.3d 1061, 1068 (5th Cir. 1994) (quoting Tel-Phonic
13   Services, Inc. v. TBS Int’l, Inc., 975 F.2d 1134, 1139 (5th Cir. 1992)) . . . . . . . . . . . . . . . . . . . . -6-

14   Western Mining Council v. Watt, 643 F.2d 618, 624 (9th Cir. 1981), cert. denied, 454 U.S. 1031, 102
     S.Ct. 567, 70 L.Ed. 2d 474 (1981) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . -5-
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     Williams v. WMX Techs., Inc.,
16   112 F.3d 175, 177 (5th Cir. 1997), cert. denied, 522 U.S. 966 (1997) . . . . . . . . . . . . . . . . . . . . -6-

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18   STATUTES

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     11 U.S.C. § 727(a)(2)(A) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . -7-
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 1   F.R.C.P. 11(b)(3) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . -14-

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 4   Federal Rule of Bankruptcy Procedure 7012 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . -5-

 5   Federal Rule of Civil Procedure 12(b)(6) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . -5-

 6   Federal Rule of Civil Procedure 9(b) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . -6-

 7   Federal Rules of Civil Procedure, Rule 12(b)(6) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . -4-

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 1   1.        MEMORANDUM OF POINTS & AUTHORITIES

 2             a.      BACKGROUND

 3             On 12-8-2017, the Debtor commenced this chapter 7 bankruptcy.

 4             During the Debtor’s bankruptcy, leading up to the discharge date, Plaintiff conducted no 2004

 5   examination of the Debtor.

 6             On 3-12-2018, Plaintiff commenced this Complaint. The First Cause of Action is for Denial

 7   of Discharge for Intentional Transfer and Concealment of Debtor's Property or Property of the Estate

 8   in Violation of under 11 U.S.C. §727(a)(2); The Second Cause of Action is for Denial of Defendants’

 9   Discharge for Failure to Keep or Preserve Sufficient And/or Accurate Records under 11 U.S.C.

10   §727(a)(3); The Third Cause of Action is for Denial of Defendants’ Discharge for False Oath under

11   11 U.S.C. §727(a)(4).

12             On 4-11-2018, Defendant filed her Motion to Dismiss Adversary Complaint for Denial of

13   Discharge Pursuant to: 1) 11 U.S.C. §727(A)(2); 2) 11 U.S.C. §727(A)(3); 3) 11 U.S.C. §727(A)(4).

14             On 6-14-2018, this Court granted Defendant’s Motion to Dismiss, granting Plaintiff leave to

15   amend. At the 6-14-2018 hearing, Plaintiff acknowledged that “one of his major allegations” was

16   “inaccurate” and “incorrect,” and pledged to delete portions of the amended complaint based upon the

17   fact that they are not supported by sufficient evidence. Portions of the transcript of the hearing

18   provided the following:

19             THE COURT: ... I mean, the Court had a chance to review the complaint. There really
               are -- I mean, apart from the non-compliance with local Rule 9013-1(f)(2), I think
20             there are serious problems with the complaint in the sense that you don’t tie specific
               fact patters to specific provisions of Section 727. I mean, I think that rather than just
21             setting forth a whole bunch of facts and then at the very end concluding that they’re
               violations of 727, it doesn’t really -- it doesn’t focus the matter properly in the Court’s
22             view. I think what you need to do is to tie -- is to basically state the particular
               provision of 727. And you can do this more than once with respect to a particular
23             provision and –

24             MR. KELLEY: Sure.

25             THE COURT: -- indicate the facts that would support your contention that that
               provision of the code was violated.
26
     ---
27
               MR. KELLEY: Sure, I understand. What I’d like to do if Your Honor would be willing
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 1             to allow me to amend the complaint, what I’d like to do is I’d like to speak to Mr.
               Cohen privately off the record. I understand one of my major factual allegations there
 2             may be some inaccuracy to it. I’ve spoken with the Trustee, which is, you know,
               investigating some of the allegations and they’ve had trouble ascertaining it. Mr.
 3             Cohen seemed to indicate in his opposition or, excuse me, in his moving papers that
               I was incorrect on certain things. So, if that’s correct and he shows me the evidence
 4             to prove it, I don’t want to waste the Court’s time, you know, running down a rabbit
               hole on something that’s going to turn out to be inaccurate. So, if the Court would
 5             allow me to amend, I can take Your Honor’s suggestions and, hopefully narrow the
               scope of the issues if Mr. Cohen would be willing to share some information with me
 6             informally.

 7   ---

 8             THE COURT: All right. Very good. So the Court’s thinking here is that it will -- what
               it will do is it will grant the motion to dismiss with leave to amend. And so you’ll need
 9             to file that amended pleading within the period of the rule.

10   ---

11             THE COURT: All right. And, Mr. Kelley, you should lodge the order on that and then
               you should have those discussions with Mr. Cohen about what portions of the existing
12             complaint could perhaps be deleted based upon the fact that they are not supported by
               sufficient evidence.
13
               MR. KELLEY: I will.1
14
               On 7-16-2018, Plaintiff filed his First Amended Adversary Complaint for Denial of Discharge
15
     Pursuant to: 1) 11 U.S.C. § 727(A)(2); 2) 11 U.S.C. § 727(A)(3); 3) 11 U.S.C. § 727(A)(4) (“First
16
     Amended Complaint” or “FAC”) which basically repeats the same inaccurate and incorrect allegations,
17
     failed to tie specific fact patters to specific provisions of Section 727, and still fails to state valid
18
     causes of action. Plaintiff has not done what he promised, and what the Court instructed him to do.
19
               Plaintiff’s FAC contains an introduction that continues to materially misrepresent the
20
     arbitrator’s finding of fraud by the Debtor. While this FAC does not allege a fraud violation under 11
21
     U.S.C. § 523(a)(2), and said allegation in the introduction is completely irrelevant.
22
               Plaintiff’s FAC presents the following allegations of § 727 fraud on the court:
23
     1.        The Debtor’s alleged concealment or laundered funds from a closing:
24

25
               1
26            A true and correct copy of the Transcript of the 6-14-2018 hearing on the Debtor’s Motion
     to Dismiss is attached hereto as Exhibit “1" and is incorporated herein by this reference. Defendant
27   by and through her attorney, hereby requests the Court to take judicial notice pursuant to Federal Rule
     of Evidence 201.
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 1             a.     A November, 2015, an unidentified cashier’s check for “approximately” $210,000

 2                    which to date, has not been cashed (FAC ¶¶ 13, 33a, 44a).

 3             b.     On December, 2017, immediately prior to filing for bankruptcy, Debtor withdrew an

 4                    unidentified significant amount of cash from her unidentified bank accounts (FAC ¶¶

 5                    16, 33b, 44c).

 6             c.     “Alternatively” (FAC ¶ 33(b), Debtor gave Blakely the unidentified $210,000 cashier’s

 7                    check as an unidentified security for an unidentified loan (FAC ¶ 23, 44e)

 8   2.        The Debtor’s alleged nondisclosure of real estate:

 9             a.     Debtor rents property at 47201 El Agadir, Palm Desert, California 92260 for $150.00

10                    per month (FAC ¶¶ 17, 44d).

11             b.     Blakely allegedly lent or gifted the Debtor money to pay for the arbitration costs,

12                    including a payment of $12,675.00 in February, 2017 (FAC ¶ 20).

13             c.     Debtor bragged to unidentified friends and colleagues that she “purchased a house in

14                    the desert” and was essentially retiring from real estate (FAC ¶ 21).

15   3.        The Debtor failed to list in her schedules an inactive limited liability company that was

16             suspended by the California Franchise Tax Board: Nat Global Properties, LLC. (FAC ¶¶ 24-

17             25, 33d, 44f).

18   4.        The Debtor’s alleged nondisclosure of expensive clothes and jewelry: Debtor listed in her

19             schedules $300.00 in clothing and $500.00 in jewelry (FAC ¶¶ 29-32, 33e, 44g).

20   5.        The Debtor’s alleged nondisclosure of the Blakely loan or gift (FAC ¶44e).

21   6.        The Debtor’s alleged nondisclosure of some of her unidentified jewelry that she sold off

22             before bankruptcy to support herself (FAC ¶44h).

23             All factual allegations fail to qualify to state sufficient facts to deny the Debtor’s discharge

24   under 11 U.S.C. § 727(A)(2); 11 U.S.C. § 727(A)(3); & 11 U.S.C. § 727(A)(4) and are properly

25   dismissed.

26             Accordingly, the task has fallen upon Defendant to bring the instant Motion to Dismiss, for

27   failure to state a claim upon which relief can be granted pursuant to Rule 7012 of the Federal Rules

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 1   of Bankruptcy Procedure, incorporating by reference, Rule 12(b)(6) of the Federal Rules of Civil

 2   Procedure in order to demonstrate that Plaintiff’s pleading is filled with superfluous matter, alleging

 3   vague unspecified conduct, damages, and events which are so remote in time as to be time-barred and

 4   allegations which are mere conclusions.

 5             a.     ARGUMENT

 6             A complaint must allege sufficient factual matter, which if accepted as true would “state a

 7   claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 129 S. Ct. 1937, 1949

 8   (2009), quoting, Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007). A claim is facially

 9   plausible when a court can draw a reasonable inference that the defendant is liable for misconduct.

10             The complaint must state a claim for relief that is plausible in order to survive a motion to

11   dismiss. Ashcroft v. Iqbal, 129 S. Ct. at 1950. A dismissal without leave to amend should not be

12   granted unless “the complaint could not be saved by any amendment.” Polich v. Burlington Northern,

13   Inc., 942 F.2d 1467, 1472 (9th Cir. 1991) (citation omitted).

14             Federal Rules of Civil Procedure, Rule 12(b)(6) provides, in pertinent part:

15             Every defense, in law or fact, to a claim for relief in any pleading, whether a claim,
               counterclaim, cross-claim, or third-party claim, shall be asserted in the responsive
16             pleading thereto if one is required, except that the following defenses may at the option
               of the pleader be made by motion: ... (6) failure to state a claim upon which relief can
17             be granted ... .

18             Courts have increasingly recognized that under appropriate circumstances these motions are

19   useful and even necessary tools for disposing of insupportable claims. Thus, while the Court, in

20   deciding a motion to dismiss, must accept as true all material allegations of a complaint and construe

21   them in the light most favorable to the plaintiff. N.L. Industries, Inc. v. Kaplan, 792 F.2d 896, 898 (9th

22   Cir. 1986). “To survive a motion to dismiss, a complaint must contain sufficient factual matter,

23   accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 129 S.Ct.

24   1937, 1949 (2009) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007)). “A claim has

25   facial plausibility when the plaintiff pleads factual content that allows the court to draw the reasonable

26   inference that the defendant is liable for the misconduct alleged.” (Ibid.) In other words, the relevant

27   question for purposes of a motion to dismiss for failure to state a claim is “whether, assuming the

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 1   factual allegations are true, the plaintiff has stated a ground for relief that is plausible.” Ashcroft,

 2   supra, 129 S.Ct. at 1959. However, the Court need not accept conclusory allegations, unwarranted

 3   deductions or unreasonable inferences. Western Mining Council v. Watt, 643 F.2d 618, 624 (9th Cir.

 4   1981), cert. denied, 454 U.S. 1031, 102 S.Ct. 567, 70 L.Ed. 2d 474 (1981). Nor need a court assume

 5   that Plaintiff can prove facts different from those it has alleged. Associated Gen. Contractors of Calif.

 6   v. California State Council of Carpenters 459 U.S. 519, 526 (1983). As one court has put it, courts

 7   need not “swallow the plaintiff’s invective hook, line, and sinker; bald assertions, unsupportable

 8   conclusions, periphrastic circumlocutions, and the like need not be credited.” Aulson v. Blanchard 83

 9   F.3d 1, 3 (1st Cir. 1996).

10             Federal Rule of Civil Procedure 12(b)(6), made applicable to bankruptcy by Federal Rule of

11   Bankruptcy Procedure 7012, is similar to the common law general demurrer in that it tests the legal

12   sufficiency of the claim or claims stated in the complaint. A court must decide whether the facts

13   alleged, if true, would entitle the plaintiff to some form of legal remedy. Conley v Gibson, 355 U.S.

14   41, 45-46, 78 S.Ct. 99, 102 (1957); De La Cruz v Tormey 582 F.2d 45, 48 (9th Cir. 1978).

15             Therefore, a Rule 12(b)(6) dismissal motion is proper where there is an absence of sufficient

16   facts alleged under a cognizable legal theory. Balistreri v. Pacifica Police Dept, 901 F.2d 696, 699

17   (9th Cir. 1990); Graehling v. Village of Lombard, III, 58 F.3d 295, 297 (7th Cir. 1995). If a critical

18   threshold element is missing from the Plaintiff’s FAC, a motion to dismiss under Rule 12(b)(6) must

19   be granted. This is precisely the problem with Plaintiff’s FAC - alleged facts are not stated with the

20   requisite specificity.

21             Dismissal of this FAC as to these amorphous claims is warranted as Plaintiff has not pled

22   “enough facts to state a claim for relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 127

23   S. Ct. 1955, 1960, 550 U.S. 544, 570 (2007). “Factual allegations must be enough to raise a right to

24   relief above the speculative level, on the assumption that all the allegations in the complaint are true

25   (even if doubtful in fact).” Id. at 1965 (internal citations omitted). Mere recitals of the elements of

26   a cause of action, supported by conclusory statements and naked assertions devoid of substantiated

27   factual enhancement are insufficient to sustain a statement of a claim. Ashcroft v. Iqbal, 129 S.Ct.

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 1   1937 (2009) (citing Twombly, 550 U.S. 544). Additionally, to the extent that a Plaintiff's claims set

 2   forth conclusory allegations or unwarranted deductions of fact, the Court is not obliged to accept such

 3   allegations or deductions as true. Official Comm. of Unsecured Creditors of VarTec Telecom, Inc. v.

 4   Rural Tel. Fin. Coop. (In re VarTec Telecom, Inc., 335 B.R. 631 (Bankr. N.D. Tex. 2005).

 5             Since Plaintiff alleged fraud on the court under 11 U.S.C. § 727(a)(2)(A), the Plaintiff’s

 6   burden is even higher under Federal Rule of Civil Procedure 9(b), which requires the plaintiff to plead

 7   the specific time, place, and contents of the alleged false representation, as well as the identity or

 8   capacity of the person making the misrepresentation and what that person obtained from making the

 9   alleged misrepresentation. See, e.g., Sullivan v. Leor Energy, LLC, 600 F.3d 542, 550 (5th Cir. 2010)

10   (citing ABC Arbitrage v. Tchuruk, 291 F.3d 336, 350 (5th Cir. 2002)); Williams v. WMX Techs., Inc.,

11   112 F.3d 175, 177 (5th Cir. 1997), cert. denied, 522 U.S. 966 (1997); Tuchman v. DSC

12   Communications Corp., 14 F.3d 1061, 1068 (5th Cir. 1994) (quoting Tel-Phonic Services, Inc. v.

13   TBS Int’l, Inc., 975 F.2d 1134, 1139 (5th Cir. 1992)). Courts require that the plaintiff properly

14   plead the “who, what, when, where, and how” of the alleged false representations. Milkie v.

15   Extreme Networks, Inc., 2004 WL 690844, slip op. at *7 (N.D. Tex. Mar. 30, 2004). The plaintiff’s

16   failure to do so in his pleadings necessitates that the Motion be granted. “The heightened

17   pleading requirement for fraud applies to claims of misrepresentation, as well as those labeled

18   ‘fraud.’” Blacksmith Inv., LLC v. Cives Steel Co., Inc., 228 F.R.D. 66, 73 (D. Mass. 2005) (citing

19   Powers v. Boston Cooper Corp., 926 F.2d 109, 111 (1st Cir. 1991).

20                    i.      PLAINTIFF’S COMPLAINT IS PROPERLY DISMISSED PURSUANT

21                            TO F.R.C.P. §§ 9(B), 12(B)(6) AND F.R.B.P. §§ 7009, 7012

22                            (1)     PLAINTIFF’S 1st CAUSE OF ACTION UNDER 11 U.S.C. §

23                                    727(a)(2) IS PROPERLY DISMISSED

24             11 U.S.C. § 727(a)(2)(A) - Discharge provides:

25             (a) The court shall grant the debtor a discharge, unless—
               (2) the debtor, with intent to hinder, delay, or defraud a creditor or an officer of the
26             estate charged with custody of property under this title, has transferred, removed,
               destroyed, mutilated, or concealed, or has permitted to be transferred, removed,
27             destroyed, mutilated, or concealed—
               (A) property of the debtor, within one year before the date of the filing of the petition
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 1             [Emphasis added]

 2
               Two elements comprise an objection to discharge under 11 U.S.C. § 727(a)(2)(A): 1) a
 3
     disposition of property by or at the sufferance of the debtor by transfer, removal, destruction,
 4
     mutilation, or concealment; and 2) a subjective intent on the debtor's part to hinder, delay or defraud
 5
     a creditor through the act disposing of the property. Both elements must take place within 1-year of
 6
     the Petition Date of 12-8-2017 (the one-year pre-filing period); acts and intentions occurring before
 7
     this period are forgiven. In re Lawson, 122 F3d 1237 (CA9 1997). This section is construed liberally
 8
     in favor of the debtor and strictly against those objecting to discharge. Before a court can refuse a
 9
     discharge under 11 U.S.C. § 727(a)(2)(A), it must be shown that there was an actual transfer of
10
     valuable property belonging to the debtor which reduced the assets available to the creditors and
11
     which was made with fraudulent intent. In re Garcia, 168 B.R. 403 (D. Ariz. 1994).
12
               Plaintiff’s factual scenarios of the FAC do not state facts sufficient to deny a discharge for
13
     Intentional Transfer and Concealment of Debtor's Property or Property of the Estate in Violation of
14
     11 U.S.C. §727(a)(2).
15
               Factual Scenarios 1a & 2(a)(b)(c): A November, 2015, unidentified cashier’s check for
16
     “approximately” $210,000 which to date, has not been cashed (FAC ¶¶ 13, 33a, 44a). “Alternatively”
17
     (¶FAC 33(b), Debtor gave Blakely the $210,000 cashier’s check as security for a loan (FAC ¶ 23,
18
     44e).
19
               The FAC still does not identify when Debtor allegedly gave Blakely the $210,000 cashier’s
20
     check. If it occurred before the 1-year reachback of 12-8-2016, said allegation could not be the basis
21
     of a § 727(a)(2)(A) violation. What factual scenario in terms of dates, has Plaintiff cited in the
22
     Complaint that support a 11 U.S.C. § 727(a)(2)(A) violation? None.
23
               Federal Rule of Civil Procedure 9, and Federal Rule of Bankruptcy Procedure 7009
24
     specifically requires: “(b) Fraud or Mistake; Conditions of Mind. In alleging fraud or mistake, a party
25
     must state with particularity the circumstances constituting fraud or mistake.” [Emphasis added].
26
               What is the unidentified cashier’s check number? From which bank account of the Debtor was
27
     this unidentified cashier’s check issued from? What is the Debtor’s bank account #? Why is the exact
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 1   amount of this unidentified cashier’s check alleged? None are cited in the FAC

 2             Plaintiff’s theory that “alternatively” (¶FAC 33(b), the Debtor gave Blakely the $210,000

 3   cashier’s check as an unidentified security for an unidentified loan (FAC ¶ 23, 44e) is equally vague.

 4   Alternate theories are insufficient to pass judicial scrutiny under Federal Rule of Civil Procedure 9,

 5   and Federal Rule of Bankruptcy Procedure 7009. What fact was alleged with particularity about this

 6   unidentified security for this unidentified loan? What were the terms of this alleged unidentified

 7   security agreement? What documents evidenced this alleged unidentified security agreement? Where

 8   was this alleged unidentified security agreement filed and recorded; in which county and state?

 9   Where is Blakely’s confirmation of this unidentified security agreement? None are cited in the FAC..

10             What, exactly, were Defendant’s alleged concealment activities within the one year period

11   before filing for bankruptcy, as required by § 727(a)(2)(A)? None are cited in the FAC..

12             How was this alleged unidentified cashier’s check for approximately $210,000 disposed of by

13   the Defendant, with the subjective intent defraud within 1-year of the Petition Date of 12-8-2017 (the

14   one-year pre-filing period) under 11 U.S.C. § 727(a)(2)(A), and what & how did the Defendant

15   conceal these assets? None are cited in the FAC.. In this case, Defendant filed for bankruptcy on 12-

16   8-2017. Thus, to prevail on its claim under 11 U.S.C. § 727(a)(2)(A), Plaintiff must prove (and plead)

17   by clear and convincing evidence that the debtor committed one of the enumerated acts between 12-8-

18   2016 - 12-8-2017 which it simply did not do.

19             Despite the seemingly absolute jurisdictional limitation of 11 U.S.C.§ 727(a)(2)(A) on the

20   timing of the debtor's conduct, Plaintiff argued in his earlier Opposition to the original Motion to

21   Dismiss, that the Defendant’s continued retention of assets allegedly transferred out, and her alleged

22   continuing intentional concealment brings them within the scope of 11 U.S.C.§ 727(a)(2)(A).

23             Defendant disagrees with Plaintiff’s argument that the doctrine of “continuing concealment”

24   applies in this case. Under this doctrine, discharge can be denied under 11 U.S.C.§ § 727(a)(2)(A),

25   even though the subject transfer allegedly occurred more than one year before the debtor filed

26   bankruptcy, if the debtor intentionally allowed her interest in the property to remain concealed into

27   the year preceding the bankruptcy filing. In re Lawson, 122 F.3d at 1240. “Concealment” in this sense

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 1   focuses on the debtor’s intent to conceal any “interest” in the transferred property into the year before

 2   the bankruptcy filing (12-8-2016 - 12-8-2017) not whether the debtor intended to conceal “the

 3   transfer.” Here, Plaintiff’s FAC fails to cite any facts to support his conclusion that a “concealment”

 4   occurred within the meaning of the doctrine.

 5             Consequently, to take advantage of the "continuing concealment" doctrine, the Plaintiff must

 6   plead and demonstrate by clear and convincing evidence, "a transfer of title coupled by the retention

 7   of the benefits of ownership" within the 1-year before the Petition Date. Thibodeaux v. Olivier (In re

 8   Olivier), 819 F.2d 550, 553 (5th Cir. 1987) - which Plaintiff did not do. Plaintiff has still not properly

 9   plead any facts to establish a continuing concealment of assets between 12-8-2016 - 12-8-2017 . In

10   Re Serafini, 113 B.R. 692 (D. Colo. 1990).

11             The one-year “lookback” period in § 727(a)(2)(A) is a “statute of repose” not subject to

12   equitable tolling. A statute of repose (sometimes called a nonclaim statute), like a statute of limitation,

13   is a statute that cuts off certain legal rights if they are not acted on by a specified deadline. Tidewater

14   Fin. Co. v. Williams (In re Williams), 498 F.3d 249, 257 (4th Cir. 2007). In re: Ronald A. Neff,

15   CC-13-1041-KiTaD (9th Cir. BAP 2014).

16             “A statute of limitations creates an affirmative defense where plaintiff failed to bring
               suit within a specified period of time after his cause of action accrued, often subject
17             to tolling principles.” Ma v. Merrill Lynch, Pierce, Fenner & Smith, Inc., 597 F.3d 84,
               88 n.4 (2d Cir. 2010) (citing Stuart v. Am. Cyanamid Co., 158 F.3d 622, 627 (2d Cir.
18             1998); P. Stolz Family P’ship v. Daum, 355 F.3d 92, 102-03 (2d Cir. 2004)). “By
               contrast, a statute of repose extinguishes a plaintiff’s cause of action after the passage
19             of a fixed period of time, usually measured from one of the defendant’s acts.” Id.
               (citing P. Stolz Family P’ship, 355 F.3d at 102–03). In other words, a statute of
20             limitations sets a time limit for bringing an action; a statute of repose sets a time period
               in which an event giving rise to a claim for relief must occur. A statute of repose
21             “bar[s] any suit that is brought after a specified time since the defendant acted
               . . . even if this period ends before the plaintiff has suffered a resulting injury.”
22             BLACK’S LAW DICTIONARY 1451 (8th ed. 2004) (emphasis added).

23             Statutes of repose are not concerned with the plaintiff’s diligence; they are concerned with the

24   defendant’s peace. Underwood Cotton Co. v. Hyundai Merch. Marine (Am.), Inc., 288 F.3d 405, 409

25   (9th Cir. 2002). “Put more bluntly, there is a time when allowing people to put their wrongful conduct

26   behind them — and out of the law’s reach — is more important than providing those wronged with

27   a legal remedy, even if the victims never had the opportunity to pursue one.” Lyon v. Aguilar (In re

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 1   Aguilar), 470 B.R. 606, 614 (Bankr. D.N.M. 2012) (quoting In re Exxon Mobil Corp. Sec. Litig., 500

 2   F.3d 189, 200 (3d Cir. 2007)).

 3             Equitable tolling applies only to limitations periods. See Young, 535 U.S. at 49; Tidewater,

 4   498 F.3d at 254. A statute of limitations subject to equitable tolling has two common characteristics:

 5   (1) the statute provides a plaintiff with a specified period of time within which to pursue a claim to

 6   preserve a remedy; and (2) such period begins when the plaintiff has or discovers he has a complete

 7   and present claim. Tidewater, 498 F.3d at 255-56 (citing Young, 535 U.S. at 47-49); In re Aguilar, 470

 8   B.R. at 615; In re Maas, 416 B.R. 767, 769-70 (Bankr. D. Kan. 2009). “When these two

 9   circumstances exist, a court will often toll a period if it concludes that equitable considerations

10   excuse a plaintiff’s failure to take the required action within the time period.” Tidewater, 498 F.3d at

11   256 (citing Young, 535 U.S. at 50-51). See Tidewater Fin. Co. v. Williams (In re Williams), 341 B.R.

12   530, 533 (D. Md. 2006) (“The doctrine of equitable tolling ‘permits a court to suspend the measuring

13   period for a party to take action during the time the party was unable to act.’”) (quoting In re Williams,

14   333 B.R. 68, 71 (Bankr. D. Md. 2005)).

15             Equitable tolling is inconsistent with statutes of repose. Lampf, Pleva, Lipkind, Prupis &

16   Petigrow v. Gilbertson, 501 U.S. 350, 363 (1991). “Statutes of repose do not start to run when the

17   plaintiff has or discovers he has an action. Rather, the statutes set an outside limit as to when the cause

18   of action can accrue in the first place.” In re Aguilar, 470 B.R. at 615 (citing In re Maas, 416 B.R. at

19   771).

20             Section 727(a)(2)(A) does not share either one of the required characteristics of a statute of

21   limitations. It does not provide a creditor with a specified period of time for pursuing a claim to

22   preserve a remedy, and the one-year period is not dependent on the discovery or accrual of a claim.

23   Rather, the one-year period is based on when the debtor files the bankruptcy petition. Accordingly,

24   Plaintiff’s 1st Cause of Action under 11 U.S.C. §727(a)(2)(A) for this factual scenario is properly

25   dismissed.

26             Factual Scenario # 1(b): On December, 2017, immediately prior to filing for bankruptcy,

27   Debtor allegedly withdrew an unidentified significant amount of cash from her unidentified bank

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 1   accounts (FAC ¶¶ 16, 33b, 44c).

 2             From which bank account of the Debtor was this unidentified significant cash withdrawal

 3   from? What is the Debtor’s bank account #? Why is the exact amount of this unidentified cash

 4   withdrawal? None are cited in the FAC. .

 5             Plaintiff’s FAC ¶33(c) admits: “The exact amount withdrawn, and the bank account from

 6   which it was withdrawn, are presently unknown to plaintiff. Upon conducting discovery and

 7   ascertaining the source and amount of the withdraw, plaintiff will amend the complaint to conform

 8   to the proof.” But, during the Debtor’s bankruptcy, leading up to the discharge date, Plaintiff

 9   conducted no 2004 examination of the Debtor to ascertain these facts before alleging them. Such an

10   admission does not cure the fatal deficiencies of pleading fraud with specificity. Accordingly,

11   Plaintiff’s 1st Cause of Action under 11 U.S.C. § 727(a)(2)(A) for this factual scenario is properly

12   dismissed.

13             Factual Scenario # 2 : The Debtor’s alleged nondisclosure of real estate: Debtor rents

14   property at 47201 El Agadir, Palm Desert, California 92260 for $150.00 per month (FAC ¶¶ 17, 44d).

15   Blakely allegedly lent “or” gifted the Debtor money to pay for the arbitration costs, including a

16   payment of $12,675.00 in February, 2017 (FAC ¶ 20). Debtor bragged to unidentified friends and

17   colleagues that she “purchased a house in the desert” and was essentially retiring from real estate

18   (FAC ¶ 21).

19             The FAC does not identify any facts (other than conclusions) that the Debtor bragged to

20   unidentified people that she owned said property (who, what, where, when?), and the FAC does not

21   identify any facts that title to said property was in anyway transferred or concealed and most

22   importantly, when it was transferred. If it occurred before the 1-year reachback of 12-8-2016, said

23   allegation could not be the basis of a § 727(a)(2)(A) violation.

24             What fact was alleged with particularity about this unidentified loan or gift to the Debtor?

25   What were the terms of this alleged loan or gift to the Debtor? What documents evidenced this

26   alleged loan or gift to the Debtor? Where is Blakely’s confirmation of this unidentified loan or gift

27   to the Debtor? None are cited in the FAC..

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 1             If Blakely gifted the Debtor $12,675.00 in February, 2017, it would not have to be listed in the

 2   Debtor’s petition. Gifts to a debtor are not income, and the Statement of Financial Affairs only

 3   requests that the Debtor identify gifts made by the debtor to a transferee. Perhaps the Debtor drew an

 4   advance on a draw - it would be her monies - not transferred. Perhaps Blakely gifted the money to the

 5   Debtor - again, it would be her monies - not transferred.

 6             The FAC does not identify any facts (other than conclusions) that the Debtor bragged to

 7   unidentified people that she owned said property (who, what, where, when?), and the FAC does not

 8   identify any facts that title to said property was in anyway transferred or concealed and most

 9   importantly, when it was transferred.

10             What, exactly, were Defendant’s alleged concealment activities within the one year period

11   before filing for bankruptcy, as required by § 727(a)(2)(A)? None are cited in the FAC.

12             Factual Scenario # 3: The Debtor allegedly failed to list in her schedules an inactive limited

13   liability company that was suspended by the California Franchise Tax Board: Nat Global Properties,

14   LLC. (FAC ¶¶ 24-25, 33d, 44f).

15             The FAC does not identify any facts (other than conclusions) that the Debtor owned the

16   suspended LLC, other than make reference to a public records search that she was a managing member

17   of the LLC back in 2015. In fact, the California Secretary of State business portal reflects that said

18   LLC was suspended by the California Franchise Tax Board. 2 The Defendant had no obligation to

19   disclose an inactive suspended company, that is worth nothing, that is not material, that did no

20   business at the time of the Petition, that had no customers at that time, and that had no employees

21   then. The omission of this asset was not a detriment to creditors. This asset bears no relationship

22   whatsoever to the Debtor’s current business transactions, nor did it concern the discovery of assets,

23   business dealings, or the existence and disposition of the Debtor’s property." In re Chalik, 748 F.2d

24   616, 617 (11th Cir.1984).

25
               2
26           A true and correct copy of the California Secretary of State business portal reflects that said
     LLC was suspended by the California Franchise Tax Board is attached hereto as Exhibit “2" and is
27   incorporated herein by this reference. Defendant by and through her attorney, hereby requests the
     Court to take judicial notice pursuant to Federal Rule of Evidence 201.
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 1                 The FAC does not identify any facts (other than conclusions) as to when the Debtor allegedly

 2   owned this suspended LLC. If it occurred before the 1-year reachback of 12-8-2016, said allegation

 3   could not be the basis of a § 727(a)(2)(A) violation.

 4             Plaintiff’s FAC ¶ 33(d) admits: “Although Nat Global Properties, LLC is currently suspended

 5   by the California Secretary of State for failure to pay taxes to the Franchise Tax Board” Plaintiff

 6   cavalierly concludes: “this does not mean that the LLC has been dissolved, owns no assets, has no

 7   bank accounts, or otherwise is out of business. It simply means the franchise taxes were not paid, and

 8   that the LLC can have the FTB suspended status removed by paying the taxes.” Plaintiff is simply

 9   wrong about this.

10             Generally, a suspended corporation cannot file an amendment to its articles of incorporation

11   or a certificate of dissolution. While suspended, the company is "disabled from participating in

12   litigation activities." It can't file or answer a complaint, or enter a judgment from another state. Palm

13   Valley Homeowners v. Design MTC, 85 Cal. App. 4th 553, 559 (2000) (upholding sanctions against

14   lawyers who knew their corporate client was suspended, but answered cross-complaints, engaged in

15   discovery and asked the court for summary judgment). While a company’s powers are suspended or

16   forfeited by the FTB or the Attorney General, the corporation "shall not be entitled to sell, transfer,

17   or exchange real property in California during the period of forfeiture or suspension.” Cal. Rev. &

18   Tax. Code § 23302(d). If the suspension or forfeiture was initiated by the FTB, the contracts made in

19   California by the corporation while it was subject to the suspension or forfeiture are voidable by any

20   party to the contract other than the suspended or forfeited corporation. If the suspension or forfeiture

21   was initiated by the FTB, the contracts made in California by the corporation while it was subject to

22   the suspension or forfeiture are voidable by any party to the contract other than the suspended or

23   forfeited corporation. Cal. Rev. & Tax. Code § 23304.l(a).

24             How was this suspended LLC disposed of by the Defendant, with the subjective intent defraud

25   within 1-year of the Petition Date of 12-8-2017 (the one-year pre-filing period) under 11 U.S.C.

26   § 727(a)(2)(A), and what & how did the Defendant conceal this asset? None are cited in the FAC..

27             Plaintiff’s FAC fails to mention that out of a modicum of caution, the on 5-18-2018, the

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 1   Debtor voluntarily amended her Schedule B and listed the suspended LLC at a zero dollar value,

 2   thereby correcting and remedying what she inadvertently omitted beforehand. The Complaint cites

 3   no facts that this was more than an innocent and inadvertent oversight. 3 In In re Beaubouef, 966 F.2d

 4   174, 178 (5th Cir. 1992) the Court clearly stated that an opportunity to clear up inconsistencies and

 5   omissions with amended schedules may be considered in analyzing findings of actual intent to

 6   defraud); Gullickson v. Brown (In re Brown), 108 F.3d 1290, 1294-95 (10th Cir. 1997). Under the

 7   “Relations Back” Doctrine of Federal Rule of Civil Procedure 15, and F.R.B.P 7015, said amendment

 8   of 5-18-2018 relates back to the initial bankruptcy filing of 12-8-2017, and therefore verify the

 9   integrity of this Defendant to maintain the accuracy of her Petition. Accordingly, Plaintiff’s 1 st Cause

10   of Action under 11 U.S.C. § 727(a)(2)(A) for this factual scenario is properly dismissed.

11             Factual Scenario # 4 & 6: The Debtor’s alleged nondisclosure of expensive clothes and

12   jewelry: Debtor listed in her schedules $300.00 in clothing and $500.00 in jewelry (FAC ¶¶ 29-32,

13   33e, 44g). The Debtor’s alleged nondisclosure of some of her unidentified jewelry that she sold off

14   before bankruptcy to support herself (FAC ¶44h). The Debtor’s alleged nondisclosure of some of her

15   unidentified jewelry that she sold off before bankruptcy to support herself (FAC ¶44h).

16             Debtor claimed $300.00 in clothing and $500.00 in jewelry (FAC ¶¶ 29-32). The FAC does

17   not identify any facts (other than mere boilerplate conclusions). Merely wearing expensive jewelry,

18   does not equate to owning them. For example, Hollywood stars would appear at the Academy Awards

19   wearing expensive jewelry owned by jewelers who wanted the free advertisement and publicity.

20   Further, if the jewelry is imitation jewelry, again, they would be worth nothing, not worthy of

21   disclosure.

22             The FAC cites no facts that Debtor owned this Cartier wrist watch “which likely had a retail

23   value of at least $5,000.00" and actually owned this a Céline handbag “which retails for $2,950.00,"

24   an unidentified expensive sunglasses, as well as matching diamond earrings and a diamond necklace -

25

26
               3
             A true and correct copy of the Debtor’s 5-18-2018 Amendment is attached hereto as Exhibit
27   “3" and is incorporated herein by this reference. Defendant by and through her attorney, hereby
     requests the Court to take judicial notice pursuant to Federal Rule of Evidence 201.
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 1   other than stating that it was worn at an arbitration hearing.

 2             Plaintiff’s FAC ¶ 28, merely listing the Debtor’s unsecured debt of $39,757.80 to various

 3   unsecured creditors: Amex - $18,416; Bloomingdale's - $107.80; Citicard - $5,588.00; Macy's -

 4   $1,254.00; Nordstrom - $1,498.00; Wells Fargo Card Services - $12,894.00, without stating that the

 5   purchases were for “high end” expensive clothes and jewelry is insufficient to equate that the Debtor

 6   owned same. In fact, Plaintiff cites no facts that said charges were for “high end” expensive clothes

 7   and jewelry. Merely citing the name of the vendor, without citing the exact clothes and jewelry is

 8   insufficient. Going one step further, the only “high end” clothing vendor is Bloomingdale's with a debt

 9   of only $107.80. Plaintiff alleges no evidence that the Debtor purchased a Cartier wrist watch “which

10   likely had a retail value of at least $5,000.00" or a a Céline handbag “which retails for $2,950.00,"

11   from any of these stores. Accordingly, Plaintiff’s 1st Cause of Action under 11 U.S.C. § 727(a)(2)(A)

12   for this factual scenario is properly dismissed.

13                            (2)     PLAINTIFF’S 2nd CAUSE OF ACTION UNDER 11 U.S.C.

14                                    § 727(a)(3) IS PROPERLY DISMISSED

15             11 U.S.C. § 727(a)(3) - Discharge provides:

16             (a) The court shall grant the debtor a discharge, unless—
               (3) the debtor has concealed, destroyed, mutilated, falsified, or failed to keep or
17             preserve any recorded information, including books, documents, records, and papers,
               from which the debtor’s financial condition or business transactions might be
18             ascertained, unless such act or failure to act was justified under all of the
               circumstances of the case;
19
               The burden is on the “the objecting party to show that the debtor has failed to keep or preserve
20
     sufficient and/or accurate records which would reflect the recent financial condition of the debtor.”
21
     Anderson v. Wiess (In re Wiess), 132 B.R. 588, 592 (Bankr. E.D. Ark. 1991) (citing Fed. R. Bankr.
22
     Proc. 4005).
23
               The Ninth Circuit confirmed that a debtor has an obligation to maintain adequate records as
24
     a condition to receiving a discharge: “[t]he purpose of [section 727] is to make the privilege of
25
     discharge dependent on a true presentation of the debtor’s financial affairs.” The initial burden of
26
     proof under § 727(a)(3) is on the plaintiff. “In order to state a prima facie case under section 727(a)(3),
27
     a creditor objecting to discharge must show (1) that the debtor failed to maintain and preserve
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 1   adequate records, and (2) that such failure makes it impossible to ascertain the debtor’s financial

 2   condition and material business transactions.” Once the objecting party shows that the debtor’s records

 3   are absent or are inadequate, the burden of proof then shifts to the debtor to justify the inadequacy or

 4   nonexistence of the records. Lansdowne v. Cox (In re Cox), 41 F.3d 1294, 1296 (9 Cir. 1994).

 5             Plaintiff’s FAC states no such failure. It does not cite any facts explaining Debtor’s failure to

 6   produce her banking records from and after the November, 2015 real estate closing to the Trustee.

 7             Truth be told, that this allegation is a serious Federal Rule of Civil Procedure 11 - Federal Rule

 8   of Bankruptcy Procedure 9011 violation, and is completely false, because on 4-19-2018, the Trustee

 9   requested these documents, and on 7-16-2018, the Debtor produced them in full to the Trustee. They

10   were send via email in pdf format, per the Trustee's request. Due to the large volume of information,

11   Debtor's counsel David Flader had to send them in 5 separate emails. Copies of the correspondence

12   are attached.4

13             Plaintiff was warned that Federal Rule of Civil Procedure 11(b)(3) and Federal Rule of

14   Bankruptcy Procedure         9011(b)(3) prohibit factual representations to the Court that have no

15   evidentiary support. As the above allegation is factually false, Defendant requested that Plaintiff

16   voluntarily withdraw the 2nd Cause of Action in his First Amended Complaint, and Plaintiff refused.

17   Once this Motion is ultimately granted, Defendant will be forced to file an action fo malicious

18   prosecution against Plaintiff for his improper commencement and maintenance of this cause of action

19   in violation of Federal Rule of Civil Procedure 11(b)(3) and Federal Rule of Bankruptcy Procedure

20   9011(b)(3). Accordingly, Plaintiff’s 2nd Cause of Action under 11 U.S.C. § 727(a)(3) is properly

21   dismissed.

22                             (3)     PLAINTIFF’S 3rd CAUSE OF ACTION UNDER 11 U.S.C.

23                                     § 727(a)(4) IS PROPERLY DISMISSED

24             11 U.S.C. § 727(a)(4)(A) - Discharge provides:

25             (a) The court shall grant the debtor a discharge, unless—
               (4) the debtor knowingly and fraudulently, in or in connection with the case—
26

27             4
             A true and correct copy of said correspondence is attached hereto as Exhibit “4" and is
     incorporated by this reference.
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 1             (A) made a false oath or account

 2             A plaintiff seeking denial of a debtor’s discharge under § 727(a)(4)(A) must prove that:

 3   (1) [the debtor] made a statement under oath; (2) the statement was false; (3) [the debtor] knew the

 4   statement was false; (4) [the debtor] made the statement with fraudulent intent; and (5) the statement

 5   related materially to the bankruptcy case. Matter of Beaubouef, 966 F.2d 174, 178 (5th Cir 1992),

 6   cited in In re Spitko, 357 B.R. at 312. Accord Keeney v. Smith (In re Keeney), 227 F.3d 679, 685 (6th

 7   Cir. 2000); Moore v. Strickland (In re Strickland), 350 B.R. 158, 163 (Bankr. D. Del. 2006). See also

 8   In re Zimmerman, 320 B.R. at 806.

 9             Not all omissions or errors, however, lead to denial of a discharge. A debtor that is

10   merely careless in preparing schedules and statements or in testimony in connection with a case

11   may receive a discharge absent proof of fraudulent intent. Bauman v. Post (In re Post), 347 B.R.

12   104, 112 (Bankr. M.D. Fla. 2006); Estate of Harris v. Dawley (In re Dawley), 312 B.R. 765, 785

13   (Bankr. E.D. Pa. 2004). Further, a debtor who relies on the advice of counsel who is generally aware

14   of all relevant facts also will not be found to have made a false oath. In re Topper, 229 F.2d 691, 693

15   (3d Cir. 1956) cited in In re Georges, 138 Fed. Appx. 471, 472 (3d Cir. 2005); In re Dawley, 312 B.R.

16   at 787.

17             A party objecting to discharge under § 727(a)(4)(A) must prove by a preponderance of the

18   evidence that “the false oath [was] fraudulent and material.” Swicegood, 924 F.2d at 232

19             Plaintiff’s factual scenarios of the FAC do not state facts sufficient to deny a discharge for

20   False Oath under 11 U.S.C. § 727(a)(4).

21             Alleged False Statement # 1: Factual Scenarios 1a & 2(a)(b)(c): The Debtor is alleged to

22   have failed to disclose a November, 2015, unidentified cashier’s check for “approximately” $210,000

23   which to date, has not been cashed (FAC ¶¶ 13, 33a, 44a). “Alternatively” (¶FAC 33(b), Debtor gave

24   Blakely the $210,000 cashier’s check as security for a loan (FAC ¶ 23, 44e).

25             How does one respond to a phantom claim? What is the unidentified cashier’s check # that

26   Debtor allegedly failed to disclose? From which bank account of the Debtor was this unidentified

27   cashier’s check issued from that Debtor allegedly failed to disclose? What is the Debtor’s bank

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 1   account # that Debtor allegedly failed to disclose? Why is the exact amount of this unidentified

 2   cashier’s check alleged? None are cited in the FAC

 3             Plaintiff’s theory that “alternatively” (FAC ¶ 33(b), the Debtor gave Blakely the $210,000

 4   cashier’s check as an unidentified security for an unidentified loan (FAC ¶ 23, 44e) is equally vague.

 5   Alternate theories are insufficient to pass judicial scrutiny under Federal Rule of Civil Procedure 9,

 6   and Federal Rule of Bankruptcy Procedure 7009. What fact was alleged with particularity about this

 7   unidentified security for this unidentified loan that Debtor allegedly failed to disclose? What were the

 8   terms of this alleged unidentified security agreement loan that Debtor allegedly failed to disclose?

 9   What documents evidenced this alleged unidentified security agreement loan that Debtor allegedly

10   failed to disclose? Where was this alleged unidentified security agreement filed and recorded; in

11   which county and state loan that Debtor allegedly failed to disclose? Where is Blakely’s confirmation

12   of this unidentified security agreement loan that Debtor allegedly failed to disclose? None are cited

13   in the FAC..Accordingly, Plaintiff’s 3rd Cause of Action under 11 U.S.C. § 727(a)(4) for this factual

14   scenario is properly dismissed.

15             Alleged False Statement # 2: Factual Scenario # 2 : The Debtor’s alleged nondisclosure of

16   real estate: Debtor rents property at 47201 El Agadir, Palm Desert, California 92260 for $150.00 per

17   month (FAC ¶¶ 17, 44d). Blakely allegedly lent “or” gifted the Debtor money to pay for the

18   arbitration costs, including a payment of $12,675.00 in February, 2017 (FAC ¶ 20). Debtor bragged

19   to unidentified friends and colleagues that she “purchased a house in the desert” and was essentially

20   retiring from real estate (FAC ¶ 21).

21             The FAC does not identify any facts (other than conclusions) that the Debtor bragged to

22   unidentified people that she owned said property (who, what, where, when?).

23             What real property did Debtor fail to disclose in her bankruptcy? What’s the address of this

24   property? What’s the legal address of this property? What evidence from the County records suggest

25   that the Debtor owns any real estate? None are cited in the FAC.

26             What fact was alleged with particularity about this unidentified loan or gift to the Debtor that

27   Debtor allegedly failed to disclose? What were the terms of this alleged loan or gift to the Debtor that

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 1   Debtor allegedly failed to disclose? What documents evidenced this alleged loan or gift to the

 2   Debtor? Where is Blakely’s confirmation of this unidentified loan or gift to the Debtor? None are

 3   cited in the FAC..

 4             If Blakely gifted the Debtor $12,675.00 in February, 2017, it would not have to be listed in the

 5   Debtor’s petition. Gifts to a debtor are not income, and the Statement of Financial Affairs only

 6   requests that the Debtor identify gifts made by the debtor to a transferee. Perhaps the Debtor drew an

 7   advance on a draw - it would be her monies - not transferred. Perhaps Blakely gifted the money to the

 8   Debtor - again, it would be her monies - not transferred. Accordingly, Plaintiff’s 3 rd Cause of Action

 9   under 11 U.S.C. § 727(a)(4) for this factual scenario is properly dismissed.

10             Alleged False Statement # 3: Factual Scenario # 1(b): On December, 2017, immediately

11   prior to filing for bankruptcy, Debtor allegedly withdrew an unidentified significant amount of cash

12   from her unidentified bank accounts (FAC ¶¶ 16, 33b, 44c).

13             From which bank account of the Debtor was this unidentified significant cash withdrawal from

14   that Debtor allegedly failed to disclose? What is the Debtor’s bank account # that Debtor allegedly

15   failed to disclose? What is the exact amount of this unidentified cash withdrawal that Debtor allegedly

16   failed to disclose? When, in December of 2017 did this alleged withdrawal take place? None are cited

17   in the FAC.

18             Plaintiff’s FAC ¶33(c) admits: “The exact amount withdrawn, and the bank account from

19   which it was withdrawn, are presently unknown to plaintiff. Upon conducting discovery and

20   ascertaining the source and amount of the withdraw, plaintiff will amend the complaint to conform

21   to the proof.” But, during the Debtor’s bankruptcy, leading up to the discharge date, Plaintiff

22   conducted no 2004 examination of the Debtor to ascertain these facts before alleging them. Such an

23   admission does not cure the fatal deficiencies of pleading fraud with specificity. Accordingly,

24   Plaintiff’s 3rd Cause of Action under 11 U.S.C. § 727(a)(4) for this factual scenario is properly

25   dismissed.

26             Alleged False Statement # 4: Debtor allegedly did not list her landlord in her Schedule G to

27   whom she has a lease with.

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 1             First, the Debtor’s Schedule I merely states that the Debtor pays $150.00 a month towards her

 2   living expense be it rental or home expense. It does not state that the Debtor is “leasing” nor “owns”

 3   her apartment. It does not state that she has a landlord. Second, if the Debtor is living in her friend’s

 4   apartment as a guest and contributes $150.00 a month as a good will gesture to cover her expenses,

 5   then her statement in Schedule I is completely accurate, as well as her Schedule G, since there would

 6   be no landlord creditor to list. Plaintiff’s concocted theories of fraud would fail. Third, who is this

 7   unidentified landlord that the Debtor allegedly failed to list in her schedules? What are the terms to

 8   this unidentified rental agreement that the Debtor allegedly failed to list in her schedules? None are

 9   cited in the FAC. Accordingly, Plaintiff’s 3rd Cause of Action under 11 U.S.C. § 727(a)(4) for this

10   factual scenario is properly dismissed.

11             Alleged False Statement # 5: The Debtor’s alleged nondisclosure of Blakely as a creditor.

12   Blakely allegedly lent or gifted the Debtor money to pay for the arbitration costs, including a payment

13   of $12,675.00 in February, 2017 (FAC ¶ 20).

14             What fact was alleged with particularity about this unidentified loan or gift to the Debtor that

15   the Debtor allegedly failed to list in her schedules? What were the terms of this alleged loan or gift

16   to the Debtor that the Debtor allegedly failed to list in her schedules? What documents evidenced this

17   alleged loan or gift to the Debtor that the Debtor allegedly failed to list in her schedules? Where is

18   Blakely’s confirmation of this unidentified loan or gift to the Debtor that the Debtor allegedly failed

19   to list in her schedules? None are cited in the FAC..

20             If Blakely gifted the Debtor $12,675.00 in February, 2017, it would not have to be listed in the

21   Debtor’s petition. Gifts to a debtor are not income, and the Statement of Financial Affairs only

22   requests that the Debtor identify gifts made by the debtor to a transferee. Perhaps the Debtor drew an

23   advance on a draw - it would be her monies - not transferred. Perhaps Blakely gifted the money to the

24   Debtor - again, it would be her monies - not transferred. Accordingly, Plaintiff’s 3 rd Cause of Action

25   under 11 U.S.C. § 727(a)(4) for this factual scenario is properly dismissed.

26             Alleged False Statement # 6: Factual Scenario # 3: The Debtor failed to list in her schedules

27   an inactive limited liability company that was suspended by the California Franchise Tax Board: Nat

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 1   Global Properties, LLC. (FAC ¶¶ 24-25, 33d, 44f).

 2             The FAC does not identify any facts (other than conclusions) that the Debtor owned the

 3   suspended LLC at the time of the bankruptcy, other than make reference to a public records search

 4   that she was a managing member of the LLC back in 2015. In fact, the California Secretary of State

 5   business portal reflects that said LLC was suspended by the California Franchise Tax Board.

 6             The FAC does not identify any facts that this inactive suspended company, is worth anything,

 7   is material, did any business at the time of the Petition, has any customers, has any employees, or that

 8   the omission of this asset was a detriment to creditors.

 9             The FAC does not identify any facts that this inactive suspended company, bears any

10   relationship whatsoever to the Debtor’s current business transactions, or that it concerns the discovery

11   of assets, business dealings, or the existence and disposition of the Debtor’s property.

12             In fact, the Defendant had no obligation to disclose an inactive suspended company, that is

13   worth nothing, that is not material, that did no business at the time of the Petition, that had no

14   customers at that time, and that had no employees then. The omission of this asset was not a detriment

15   to creditors. This asset bears no relationship whatsoever to the Debtor’s current business transactions,

16   nor did it concern the discovery of assets, business dealings, or the existence and disposition of the

17   Debtor’s property." In re Chalik, 748 F.2d 616, 617 (11th Cir.1984).

18             Plaintiff’s FAC ¶ 33(d) admits: “Although Nat Global Properties, LLC is currently suspended

19   by the California Secretary of State for failure to pay taxes to the Franchise Tax Board” Plaintiff

20   cavalierly concludes: “this does not mean that the LLC has been dissolved, owns no assets, has no

21   bank accounts, or otherwise is out of business. It simply means the franchise taxes were not paid, and

22   that the LLC can have the FTB suspended status removed by paying the taxes.” Plaintiff is simply

23   wrong about this.

24             Generally, a suspended corporation cannot file an amendment to its articles of incorporation

25   or a certificate of dissolution. While suspended, the company is "disabled from participating in

26   litigation activities." It can't file or answer a complaint, or enter a judgment from another state. Palm

27   Valley Homeowners v. Design MTC, 85 Cal. App. 4th 553, 559 (2000) (upholding sanctions against

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 1   lawyers who knew their corporate client was suspended, but answered cross-complaints, engaged in

 2   discovery and asked the court for summary judgment). While a company’s powers are suspended or

 3   forfeited by the FTB or the Attorney General, the corporation "shall not be entitled to sell, transfer,

 4   or exchange real property in California during the period of forfeiture or suspension.” Cal. Rev. &

 5   Tax. Code § 23302(d). If the suspension or forfeiture was initiated by the FTB, the contracts made in

 6   California by the corporation while it was subject to the suspension or forfeiture are voidable by any

 7   party to the contract other than the suspended or forfeited corporation. If the suspension or forfeiture

 8   was initiated by the FTB, the contracts made in California by the corporation while it was subject to

 9   the suspension or forfeiture are voidable by any party to the contract other than the suspended or

10   forfeited corporation. Cal. Rev. & Tax. Code § 23304.l(a).

11             Plaintiff’s FAC fails to mention that out of a modicum of caution, the on 5-18-2018, the

12   Debtor voluntarily amended her Schedule B and listed the suspended LLC at a zero dollar value,

13   thereby correcting and remedying what she inadvertently omitted beforehand. The Complaint cites

14   no facts that this was more than an innocent and inadvertent oversight. In In re Beaubouef, 966 F.2d

15   174, 178 (5th Cir. 1992) the Court clearly stated that an opportunity to clear up inconsistencies and

16   omissions with amended schedules may be considered in analyzing findings of actual intent to

17   defraud); Gullickson v. Brown (In re Brown), 108 F.3d 1290, 1294-95 (10th Cir. 1997). Under the

18   “Relations Back” Doctrine of Federal Rule of Civil Procedure 15, and F.R.B.P 7015, said amendment

19   of 5-18-2018 relates back to the initial bankruptcy filing of 12-8-2017, and therefore verify the

20   integrity of this Defendant to maintain the accuracy of her Petition. Accordingly, Plaintiff’s 3 rd Cause

21   of Action under 11 U.S.C. § 727(a)(4) for this factual scenario is properly dismissed.

22             Alleged False Statement # 7: Factual Scenario # 4 & 6: The Debtor’s alleged nondisclosure

23   of expensive clothes and jewelry: Debtor listed in her schedules $300.00 in clothing and $500.00 in

24   jewelry (FAC ¶¶ 29-32, 33e, 44g). The Debtor’s alleged nondisclosure of some of her unidentified

25   jewelry that she sold off before bankruptcy to support herself (FAC ¶44h). The Debtor’s alleged

26   nondisclosure of some of her unidentified jewelry that she sold off before bankruptcy to support

27   herself (FAC ¶44h).

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 1             Debtor claimed $300.00 in clothing and $500.00 in jewelry (FAC ¶¶ 29-32). The FAC does

 2   not identify any facts (other than mere boilerplate conclusions). Merely wearing expensive jewelry,

 3   does not equate to owning them. For example, Hollywood stars would appear at the Academy Awards

 4   wearing expensive jewelry owned by jewelers who wanted the free advertisement and publicity.

 5   Further, if the jewelry is imitation jewelry, again, they would be worth nothing, not worthy of

 6   disclosure.

 7             The FAC cites no facts that Debtor owned this Cartier wrist watch “which likely had a retail

 8   value of at least $5,000.00" and actually owned this a Céline handbag “which retails for $2,950.00,"

 9   an unidentified expensive sunglasses, as well as matching diamond earrings and a diamond necklace -

10   other than stating that it was worn at an arbitration hearing.

11             Plaintiff’s FAC ¶ 28, merely listing the Debtor’s unsecured debt of $39,757.80 to various

12   unsecured creditors: Amex - $18,416; Bloomingdale's - $107.80; Citicard - $5,588.00; Macy's -

13   $1,254.00; Nordstrom - $1,498.00; Wells Fargo Card Services - $12,894.00, without stating that the

14   purchases were for “high end” expensive clothes and jewelry is insufficient to equate that the Debtor

15   owned same. In fact, Plaintiff cites no facts that said charges were for “high end” expensive clothes

16   and jewelry. Merely citing the name of the vendor, without citing the exact clothes and jewelry is

17   insufficient. Going one step further, the only “high end” clothing vendor is Bloomingdale's with a debt

18   of only $107.80. Plaintiff alleges no evidence that the Debtor purchased a Cartier wrist watch “which

19   likely had a retail value of at least $5,000.00" or a Céline handbag “which retails for $2,950.00," from

20   any of these stores. Accordingly, Plaintiff’s 3rd Cause of Action under 11 U.S.C. § 727(a)(4) for this

21   factual scenario is properly dismissed.

22             Alleged False Statement # 8: The Debtor’s alleged nondisclosure of some of her unidentified

23   jewelry that she sold off before bankruptcy to support herself (FAC ¶ 44h).

24             Plaintiff’s FAC does not state what jewelry the Debtor allegedly sold proper to her bankruptcy

25   to support herself? Plaintiff’s FAC does not state how the Debtor’s sale were not within her ordinary

26   course of dealing (most debtors sell off their assets to stay afloat). Accordingly, Plaintiff’s 3 rd Cause

27   of Action under 11 U.S.C. § 727(a)(4) as to this factual scenario, is properly dismissed.

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 1             b.     CONCLUSION

 2             Here, Plaintiff has not demonstrated, nor can he state a viable claim under any cause of action

 3   in his First Amended Complaint; lacking liability and filed for the purpose of harassment,

 4   unreasonable delay, and to obtain an unfair advantage in the state court action. This is particularly so

 5   when one examines the Complaint’s claims, which consists of no more than the gratuitous and bare-

 6   bones boilerplate conclusions minimally invoking this Court’s jurisdiction. Especially noteworthy,

 7   is the serious Federal Rule of Civil Procedure 11 - Federal Rule of Bankruptcy Procedure 9011

 8   violation in the FAC’s 2nd Cause of Action, misrepesenting to the Court that the Debtor did not

 9   produce requested documents to the Trustee, when she did.

10             For the above reasons, Defendant prays that this Court dismiss Plaintiff’s First Amended

11   Complaint with prejudice, that Plaintiff not be granted leave to amend, that Plaintiff take nothing by

12   his First Amended Complaint, and that Defendant’s alleged debt to Plaintiff be discharged. Further,

13   Defendant prays that this Court issue a finding of fact that the claims brought by Plaintiff are

14   dischargeable, and that pursuant to 11 U.S.C. § 524(a)(1) and (2), this discharge should also serve to

15   void any future judgment to determine the personal liability of Defendant and operate as a permanent

16   injunction against any actions whether commenced pre-petition or post-petition. Further, Defendant

17   prays that this Court award Defendant’s costs and reasonable attorney’s fees in an amount which will

18   be ascertained, pursuant to 11 U.S.C. § 523(d), Federal Rule of Civil Procedure 11 and Federal Rule

19   of Bankruptcy Procedure 9011.

20             Accordingly, Defendant respectfully requests that the Court enter an order granting the Motion

21   in its entirety, and providing for such other and further relief as this Court deems just.

22

23   DATED:           August 14, 2018                 LAW OFFICE OF BARUCH C. COHEN
                                                      A Professional Law Corporation
24
                                                      By     /S/ Baruch C. Cohen
25                                                    Baruch C. Cohen, Esq.
                                                      Attorney For Defendant Nanette Denise Marchand
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                             4929 Wilshire Boulevard, Suite 940, Los Angeles CA 90010

A true and correct copy of the foregoing document entitled MOTION TO DISMISS 1st AMENDED ADVERSARY
COMPLAINT FOR DENIAL OF DISCHARGE PURSUANT TO: 1) 11 U.S.C. § 727(A)(2); 2) 11 U.S.C. § 727(A)(3); 3) 11
U.S.C. § 727(A)(4) will be served or was served (a) on the judge in chambers in the form and manner required by LBR
5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On August
14, 2018, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following
persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:


Kyle P Kelley (Plaintiff)               kkelley@kpklaw.com
John P Pringle (TR)                     brenfro@rpmlaw.com, jpp@trustesolutions.net
United States Trustee (RS)              ustpregion16.rs.ecf@usdoj.gov

                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On August 14, 2018, I served the following persons and/or entities at the last
known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes
a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.



                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method for
each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on August 14, 2018, I served the following
persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service
method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.

Hon. Mark S Wallace
USBC, Ronald Reagan Federal Building and Courthouse 411 West Fourth Street, Suite 6135, Santa Ana CA 92701


                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

  August 14, 2018                Baruch C. Cohen                                                 /s/ Baruch C. Cohen
  Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
